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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-CV-81294-AMC


  DONALD J. TRUMP,

         Plaintiff,

         v.

  UNITED STATES OF AMERICA,

         Defendant.

  _____________ /
                      NOTICE OF RECEIPT OF PRELIMINARY ORDER
                            AND ATTORNEY APPEARANCE

         The United States notifies the Court of the following in response to its Preliminary

  Order on Motion for Judicial Oversight and Additional Relief ("Preliminary Order"), Docket

  Entry (D.E.) 29:

     1. The United States acknowledges receipt of this Court's August 27, 2022 Preliminary

         Order, D.E. 29.

     2. The undersigned, the United States Attorney for the Southern District of Florida, and

         Jay I. Bratt, Chief of the Counterintelligence and Export Control Section of the

         National Security Division of the United States Department of Justice, are appearing

         on behalf of the United States in this case.

     3. As directed by the Court's Preliminary Order, the United States will file a public

         response to Plaintiff's August 22, 2022 Motion for Judicial Oversight and Additional

         Relief and August 26, 2022 Supplemental Filing in Support of Motion for Judicial

         Oversight and Additional Relief, D.E. 1 & D.E. 28.
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      4. The government also will review the materials obtained pursuant to the search warrant

         and coordinate with the Case Team and Privilege Review Team 1 to submit, as directed

         by the Preliminary Order, a sealed supplemental filing containing a "more detailed

         Receipt for Property" seized pursuant to the search warrant approved on August 5,

         2022 (S.D. Fla. Case No. 22-MJ-8332-BER), and executed on August 8, 2022; as well

         as a "particularized notice indicating the status of [the United States'] review of the

         seized property, including any filter review conducted by the privilege review team

         and any dissemination of materials beyond the privilege review team," D.E. 29 at 2.

      5. Although the government will provide the Court more detail in its forthcoming

         supplemental filing, the government notes that, before the Court issued its Preliminary

         Order, and in accordance with the judicially authorized search warrant's provisions,

         the Privilege Review Team (as described in paragraphs 81-84 of the search warrant

         affidavit) identified a limited set of materials that potentially contain attorney-client

         privileged information, completed its review of those materials, and is in the process

         of following the procedures set forth in paragraph 84 of the search warrant affidavit to

         address potential privilege disputes, if any. Additionally, the Department of Justice

         and the Office of the Director of National Intelligence ("ODNI") are currently

         facilitating a classification review of materials recovered pursuant to the search. As the

         Director of National Intelligence advised Congress, ODNI is also leading an



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    The redacted version of the search warrant affidavit, made public on August 26, 2022, is
  available at D.E. 102-1 of Case No. 22-MJ-8332-BER. As laid out in pages 31 and 32 of the
  affidavit, the search was executed both by law enforcement personnel conducting the
  investigation (the "Case Team") and personnel not participating in the investigation, who
  were available to initiate a filter process to protect potentially attorney-client privileged
  information (the "Privilege Review Team"). D.E. 102-1 at ,i 81.
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        intelligence community assessment of the potential risk to national security that would

        result from the disclosure of these materials.



  Date: August 29, 2022                             Respectfully submitted,

                                                         Is Juan Antonio Gonzalez
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